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                               UNITED STATES DISTRICT COURT
                                                       for the                                         %Jl^sa
                                                                                                       "~:'"n w CQljfff-
                                             Southern District of Ohio

                    Philena Fariey
                                                          )
                                                                                                     ccrn ®3'3S (
                       Plaintiff                          )
                          V.                              )      CivilActionNo. 2:24-cv-04042
                    Frank LaRose                          )                                                --L'WBUS
                                                          )
                      Defendant                           )




                     MOTION TO QUASH OR MODIFY SUBPOENA


To the HonorableJudgeMichaelWatson:

Respectfully, I move this HonorableCourtto quash or modifythe subpoenaserved on me via email on
October 16, 2024, and phone calls on October 17th, 2024, for the following reasons:

The subpoenafailsto allow reasonabletime to comply, as I wasserved with only 48 hours' notice. This
timeframe is insufficient to allow me to:

     Retain counsel to represent me in this matter.
     Gather and prepare the extensive documentation requested, which includes [ specify the documents
     requested].
     Ensurethat I am adequatelypreparedto testify at the deposition.


WHEREFORE, I respectfully request that this Honorable Court quash or modify the subpoena to allow a reasonable time
for compliance.



Respectfully submitted,




PhUenaParley
1390 Mount Vernon Ave
Columbus OH 43203
